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 Fill in this information to identify the case:

 Debtor name         Infinity Capital Management, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         21-14486-abl
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule       G
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 25, 2021                        X /s/ Oliver Hemmers
                                                                       Signature of individual signing on behalf of debtor

                                                                       Oliver Hemmers
                                                                       Printed name

                                                                       Treasurer & Secretary
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Infinity Capital Management, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         21-14486-abl
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Data Backup Service
              lease is for and the nature of              Agreement and Beta
              the debtor's interest                       Test License Agreement
                                                          of Database Based Case
                                                          Management Software
                                                          dated 3/11/2009
                                                          (GPmicro as licensor and
                                                          Infinity as licensee)
                  State the term remaining                                           GPmicro, Inc.
                                                                                     c/o Borg Law Group, LLC, Reg. Agent
              List the contract number of any                                        8988 W. Cheyenne Ave., Suite 150
                    government contract                                              Las Vegas, NV 89129




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                    Infinity Capital Management, Inc.
                          Case No. 21-14486-abl
                             Creditors Added


                     GPmicro, Inc.
                     c/o Borg Law Group, LLC, Reg. Agent
                     8988 W. Cheyenne Ave., Suite 150
                     Las Vegas, NV 89129
